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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF CONNECTICUT

 KRYSTIAN WNOROWSKI,                             )
 individually and on behalf of                   )
 others similarly situated,                      )
                                                 )
                        Plaintiff,               )
 v.                                              )                Case No. 20-cv-1589
                                                 )
 UNIVERSITY OF NEW HAVEN,                        )
                                                 )
                       Defendant.                )
                                                 )

                                CLASS ACTION COMPLAINT

       Plaintiff, Krystian Wnorowski, (“Plaintiff”) by and through his undersigned counsel,

brings this action against University of New Haven, (“Defendant” or the “University”) on behalf

of himself and all others similarly situated, and makes the following allegations based upon

information, attorney investigation and belief, and upon Plaintiff’s own knowledge:

                                PRELIMINARY STATEMENT

1.     Plaintiff brings this case as a result of Defendant’s decision not to issue appropriate refunds

for the Spring 2020 semester after canceling in-person classes and changing all classes to an

online/remote format, closing most campus buildings, and requiring all students who could leave

campus to leave as a result of the Novel Coronavirus Disease (“COVID-19”).

2.     This decision deprived Plaintiff and the other members of the Classes (defined below) from

recognizing the benefits of on-campus enrollment, access to campus facilities, student activities,

and other benefits and services in exchange for which they had already paid fees and tuition.

3.     Defendant has either refused to provide reimbursement for the tuition, fees and other costs

that Defendant failed to provide during the Spring 2020 semester, or has provided inadequate
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and/or arbitrary reimbursement that does not fully compensate Plaintiff and members of the

Classes for their loss.

4.         This action seeks refunds of the amount Plaintiff and other members of the Classes are

owed on a pro-rata basis, together with other damages as pled herein.

                                                   PARTIES

5.         Defendant University of New Haven is an institution of higher learning located in West

Haven, Connecticut.

6.         Upon information and belief, Defendant has an estimated endowment that exceeds $130

Million.

7.         Moreover, Defendant was allocated more than $4.6 million of federal stimulus under the

CARES Act.1

8.         From this federal bailout, Defendant has allocated only $2.3 million (the bare minimum

required by law) to student relief grants, and has announced that it will keep the other $2.3

million for itself.2

9.         Plaintiff is an individual and a resident and citizen of the state of Connecticut.

10.        Plaintiff is currently enrolled as a full-time student in Defendant’s undergraduate

program, studying finance and business.

                                      JURISDICTION AND VENUE

11.        Plaintiff incorporates by reference all preceding allegations as though fully set forth

herein.

12.        This Court has jurisdiction over this action pursuant to the Class Action Fairness Act

(“CAFA”), 28 U.S.C. § 1332(d), because at least one class member is of diverse citizenship from


1
    https://www.newhaven.edu/about/departments/one-stop/cares-act/index.php
2
    Id.

                                                        2
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one Defendant, there are more than 100 Class members, and the aggregate amount in controversy

exceeds $5 million, exclusive of interest and costs.

13.    This Court has personal jurisdiction over Defendant because Defendant is domiciled in

Connecticut and conducts business in the state of Connecticut.

14.    Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial part of

the events or omissions giving rise to the claims occurred in this District, and because Defendant

is an institution domiciled and doing business in this District.

                                    BACKGROUND FACTS

15.    Plaintiff was enrolled as a full-time student for the Spring 2020 academic semester at

Defendant’s institution.

16.    As a precondition for enrollment, Plaintiff was required to and did pay substantial tuition

for the Spring 2020 semester either out of pocket or by utilizing student loan financing, as did all

members of the putative Tuition Class (defined below).

17.    There are hundreds, if not thousands, of institutions of higher learning in this country.

18.    Some institutions of higher learning provide curriculum and instruction that is offered on

a remote basis through online programming which do not provide for physical attendance by the

students.

19.    Defendant’s institution offers in person, hands on curriculum, as well as a fully online

distance-learning programs, which it markets as separate and distinct products.

20.    Plaintiff and members of the proposed Tuition Class did not choose to attend another

institution of higher learning, or to seek an online degree, but instead chose to attend Defendant's

institution and enroll on an in-person basis.

21.    Defendant has recognized and admitted the inherent difference between its in-person and



                                                  3
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online products, and markets them separately throughout its website and other publications and

circulars, including its academic catalogs.

22.        For example, an entire page on Defendant’s website is dedicated to “Student Life” and

touts such things as campus events, athletics, and over 150 student organizations on campus.3

23.        Defendant also markets the benefits of its physical campus, stating, “The life you lead

outside of the classroom is just as vital to your college experience as your coursework – and

studies have proven it. Student life at the University of New Haven will help you take big steps

in your career, explore your interests, have fun along the way, and develop friendships, that will

last your entire life.”4

24.        Accordingly, when students pay tuition in exchange for enrollment in the on-campus

program, such students expect to receive, and Defendant has promised to provide, benefits and

services above and beyond basic academic instruction, which include but are not limited to:

                   •   Face-to-face interaction with professors, mentors, and peers;

                   •   Access to facilities such as computer labs, study rooms, laboratories, libraries,

                       etc.;

                   •   Student governance and student unions;

                   •   Extra-curricular activities, groups, intramural sports, etc.;

                   •   Student art, cultures, and other activities;

                   •   Exposure to community members of diverse backgrounds, cultures, and schools

                       of thought;

                   •   Social development and independence;




3
    https://www.newhaven.edu/student-life/
4
    Id.

                                                      4
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                 •   Hands-on learning and experimentation; and

                 •   Networking and mentorship opportunities.

25.     Plaintiff’s education was changed from in-person, hands-on learning to online instruction

during the Spring 2020 term.

26.     When this happened, Plaintiff was forced from campus and deprived of the benefit of the

bargain for which he had paid, and in exchange for which Defendant had accepted, tuition as set

forth more fully above.

27.     In addition to tuition, Plaintiff was required to pay certain mandatory fees,5 including but

not limited to a mandatory Lab Fee and a mandatory General Student Fee.

28.     According to Defendant, the mandatory lab fee is to support in-person courses requiring

specialized materials and/or a specialized learning environment.6

29.     Defendant’s mandatory general student fee is charged in exchange for access to health

and counseling services, together with the Beckerman Recreation Center. Among other things,

the fee is also advertised as providing for student government and club activities; computer

laboratories and smart technology classrooms. The general fee is charged for each semester in

which a student enrolls.7

30.     In addition to the mandatory fees described above, Defendant charges a myriad of

optional and/or access-based fees such as parking permit charges,8 program fees, or course-

specific fees.

31.     As a result of being instructed to stay off campus for the latter portion of the Spring 2020

semester, Plaintiff and members of the Fees Class lost the benefit of the services for which these


5
  https://www.newhaven.edu/about/departments/bursars/tuition/undergraduate-2019-2020.php
6
  Id.
7
  Id.
8
  Plaintiff paid $100 for his Spring 2020 parking permit.

                                                     5
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fees had been paid. For example, Plaintiff and the Class could not access the computer labs or

recreational facilities; could not participate in student activities and events; were not able to seek

basic on-campus health and treatment services, and were unable to park on campus.

32.     Plaintiff and members of the Fees Class (defined below) were required to and did pay all

mandatory fees associated with their Spring 2020 enrollment.

                                     FACTUAL ALLEGATIONS

33.     Plaintiff was enrolled as a full-time student for the Spring 2020 academic semester at

Defendant’s institution.

34.     Upon information and belief, Defendant’s Spring term began with the first day of classes

on or about January 22, 2022.9

35.     Upon information and belief, Defendant’s Spring term was scheduled to conclude with

the last day of examinations on or about May 13, 2020.10

36.     However, as a result of the COVID-19 pandemic, Defendant announced major changes to

this schedule in an announcement on March 9, 2020. The University announced that all in-person

classes would be cancelled, and the University would be instituting remote learning across the

University. Since then, the University extended remote learning for the remainder of the Spring

semester.11

37.     On or about March 9, 2020, Defendant announced that students would be required to

move out of their residence halls by 5pm on Tuesday, March 10, 2020. Those with special

accommodations would be required to move out of their residence halls by noon on Wednesday,

March 11, 2020.12


9
  http://catalog.newhaven.edu/content.php?catoid=20&navoid=1257
10
   Id.
11
   https://www.newhaven.edu/news/blog/2020/coronavirus-panel.php
12
   https://www.nhregister.com/news/article/University-of-New-Haven-cancels-classes-15118062.php

                                                      6
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38.        On or about March 14, 2020, Defendant began to close all on campus student facilities

such as libraries and other buildings and non-essential offices.13

39.        Based on the dates set forth above, upon information and belief, Defendant’s move to

online classes and constructive eviction of students on March 14, 2020 deprived Plaintiff and

other members of the Classes from access to campus facilities and in-person instruction for

approximately 50% of the semester for which they had contracted.

40.        Although Defendant continued to offer some level of academic instruction via online

classes, Plaintiff and members of the proposed Tuition Class were deprived of the benefits of on-

campus enrollment for which they paid as set forth more fully above.

41.        These realities notwithstanding, Defendant has refused and continues to refuse to offer

any refund whatsoever with respect to the tuition that had already been pre-paid.

42.        Likewise, Plaintiff and members of the proposed Fees Class were deprived of utilizing

services for which they have already paid, such as access to campus facilities, student activities,

health services and other opportunities.

43.        Nonetheless, Defendant has also refused and continues to refuse to offer any refund

whatsoever with respect to the fees that had already been pre-paid.

                                 CLASS ACTION ALLEGATIONS

44.        Plaintiff brings this action on behalf of himself and as a class action, pursuant to the

provisions of Rule 23 of the Federal Rules of Civil Procedure on behalf of the following Classes:

                  The Tuition Class:

                  All people who paid tuition for or on behalf of students enrolled in classes at the
                  University for the Spring 2020 semester who were denied live in-person
                  instruction and forced to use online distance learning platforms for the latter
                  portion of that semester.


13
     Id.

                                                    7
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                   The Fees Class:

                   All people who paid fees for or on behalf of students enrolled in classes at the
                   University for the Spring 2020 semester.

45.     Excluded from the Classes are any of the University’s respective members, affiliates,

parents, subsidiaries, officers, directors, employees, successors, or assigns; and the judicial

officers, and their immediate family members, and Court staff assigned to this case. Plaintiff

reserves the right to modify or amend the Class definitions, as appropriate, during the course of

this litigation.

46.     Certification of Plaintiff’s claims for class-wide treatment is appropriate because Plaintiff

can prove the elements of his claims on a class-wide basis using the same evidence as would be

used to prove those elements in individual actions alleging the same claims.

47.     This action has been brought and may be properly maintained on behalf of the Class

proposed herein under Federal Rule of Civil Procedure 23.

                                 Numerosity: Fed. R. Civ. P. 23(a)(1)

48.     The members of the Class are so numerous and geographically dispersed that individual

joinder of all Class members is impracticable. Plaintiff is informed and believes there are

thousands of members of the Class, the precise number being unknown to Plaintiff, but such

number being ascertainable from Defendant's records. Class members may be notified of the

pendency of this action by recognized, Court-approved notice dissemination methods, which

may include U.S. mail, electronic mail, internet postings, and/or published notice.

                      Commonality and Predominance: Fed. R. Civ. P. 23(a)(2)

49.     This action involves common questions of law and fact, which predominate over any

questions affecting individual Class members, including, without limitation:

                          •   Whether Defendant engaged in the conduct alleged herein;

                                                     8
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          •   Whether there is a difference in value between online distance learning

              and live in-person instruction;

          •   Whether Defendant breached its contracts with Plaintiff and the other

              members of the Tuition Class by retaining the portion of their tuition

              representing the difference between the value of online distance

              learning and live in-person instruction;

          •   Whether Defendant was unjustly enriched by retaining tuition

              payments of Plaintiff and the Tuition Class representing the difference

              between the value of online distance learning and live in-person

              instruction;

          •   Whether Defendant breached its contracts with Plaintiff and the other

              members of the Fees Class by retaining fees without providing the

              services the fees were intended to cover;

          •   Whether Defendant was unjustly enriched by retaining fees of Plaintiff

              and the other members of the Fees Class without providing the

              services the fees were intended to cover;

          •   Whether certification of any or all of the classes proposed herein is

              appropriate under Fed. R. Civ. P. 23;

          •   Whether Class members are entitled to declaratory, equitable, or

              injunctive relief, and/or other relief; and

          •   The amount and nature of relief to be awarded to Plaintiff and the

              other Class members.

                  Typicality: Fed. R. Civ. P. 23(a)(3)


                                     9
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50.     Plaintiff’s claim is typical of the other Class member’s claims because, among other

things, all Class members were similarly situated and were comparably injured through

Defendant's wrongful conduct as set forth herein.

                               Adequacy: Fed. R. Civ. P. 23(a)(4)

51.     Plaintiff is an adequate Class representative because his interests do not conflict with the

interests of other members of the Class he seeks to represent. Plaintiff has retained counsel

competent and experienced in complex litigation; and Plaintiff intends to prosecute the action

vigorously. The Class’s interests will be fairly and adequately protected by Plaintiff and his

counsel.

                               Superiority: Fed. R. Civ. P. 23(b)(3)

52.     A class action is superior to any other available means for the fair and efficient

adjudication of this controversy, and no unusual difficulties are likely to be encountered in the

management of this class action. The damages or other financial detriment suffered by Plaintiff

and other Class members are relatively small compared to the burden and expense that would be

required to individually litigate their claims against Defendant, so it would be impracticable for

members of the Class to individually seek redress for Defendant's wrongful conduct.

53.     Even if Class members could afford individual litigation, the Court system likely could

not. Individualized litigation creates a potential for inconsistent or contradictory judgments, and

increases the delay and expense to all parties and the court system. By contrast, the class action

device presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, comprehensive supervision by a single court, and finality of the

litigation.

                    Certification of Specific Issues: Fed. R. Civ. P. 23(c)(4)



                                                 10
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54.       To the extent that a Class does not meet the requirements of Rules 23(b)(2) or (b)(3),

Plaintiff seeks the certification of issues that will drive the litigation toward resolution.

                    Declaratory and Injunctive Relief: Fed. R. Civ. P. 23(b)(2)

55.       The University has acted or refused to act on grounds generally applicable to Plaintiff and

the other Class members, thereby making appropriate final injunctive relief and declaratory

relief, as described herein, with respect to the Class members as a whole.

                             FOR A FIRST COLLECTIVE CAUSE OF ACTION
                                       BREACH OF CONTRACT

                              (Plaintiff and Other Members of the Tuition Class)

56.       Plaintiff incorporates by reference all preceding allegations as though fully set forth

herein.

57.       Plaintiff brings this count on behalf of himself and other members of the Tuition Class.

58.       Plaintiff and the other members of the Tuition Class entered into contracts with

Defendant which provided that Plaintiff and other members of the Tuition Class would pay

tuition for or on behalf of students and, in exchange, Defendant would enroll such students and

admit them to campus; granting them the full rights and privileges of student status, including

but not limited to access to campus facilities, access to campus activities, and live, in-person

instruction in a physical classroom.

59.       The rights and privileges of students at University are as implied or set forth by

Defendant through its website, academic catalogs, student handbooks, marketing materials, prior

course of conduct, and other circulars, bulletins, and publications.

60.       These rights and privileges form the basis of the bargain on which prospective students

agree to accept Defendant’s offer of enrollment in exchange for the payment of tuition and fees.

61.       One such right is the ability to be physically present on campus, and fully enjoy all the

                                                   11
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University has to offer. This includes the facilities, services, and opportunities provided thereon,

including the campus’ location and surrounding opportunities in a historic Northeastern city.14

This is so axiomatic and engrained into the culture of higher education generally and University

of New Haven specifically that it is enshrined within Defendant’s mission, vision, guiding

principles, and values statements which read:15




62.        Defendant’s website and recruitment brochures are the primary means through which

Defendant targets prospective new students and attempts to influence such students to apply for

enrollment at the University as opposed to other institutions of higher learning.

63.        Through these publications, Defendant markets to and enrolls students in two separate

and distinct products.


14
     https://www.newhaven.edu/explore-the-university/
15
     http://catalog.newhaven.edu/content.php?catoid=20&navoid=1186

                                                      12
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64.     Defendant specifically markets certain programs as being offered on a fully online basis,

claiming you can “study when and where you choose.”16

65.     Indeed, Defendant dedicates a section of its website to these online programs, which can

be found at https://www.newhaven.edu/academics/online-degree-programs/.

66.     Conversely, Defendant’s publications with respect to non-online classes are full of

references to the on-campus experience, including numerous references to student activities;

campus amenities; class size and student/teacher ratios; campus diversity, campus location, and

the like.

67.     When visitors and prospective students enter the home page on Defendant’s main

website, they are greeted with a nearly full screen image of a building on the New Haven campus

and the words, “Success Starts Here.”17

68.     Likewise, Defendant’s “Student Life” webpage opens up with the words, “MAKE

YOURSELF AT HOME,” in large letters, followed by, "A University of New Haven education

extends far beyond the classroom. You’ll help lead student organizations, attend lectures and

campus programs, live in our residence halls, participate in Greek Life, and cheer on the Charger

sports teams.”18

69.     On the same webpage, Defendant acknowledges and boasts about the following:

        We’re about more than just academics at the University of New Haven. Visit the
        vibrant campus, and you’ll find a remarkable campus community and an activity
        for every interest.

        From the more than 150 student organizations to the thousands of campus events
        held each year to the University’s competitive Division II athletics program –
        featuring teams perennially competing for championships – there are a multitude



16
   https://www.newhaven.edu/academics/online-degree-programs/
17
   https://www.newhaven.edu
18
   https://www.newhaven.edu/student-life/

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           of activities to help you immerse yourself in Charger Nation and to enable you to
           take part in the complete University of New Haven experience.

           Just ask the students. In the University of New Haven’s profile in The 2018
           Princeton Review, a student said, "It is absolutely impossible to be bored, because
           there is always something to do." Another student said, "Every student is involved."

           The life you lead outside of the classroom is just as vital to your college experience
           as your coursework – and studies have proven it. Student life at the University of
           New Haven will help you take big steps in your career, explore your interests, have
           fun along the way, and develop friendships, that will last your entire life.19

70.        On the Defendant’s “About” webpage, the University makes the following promises,

among others:20

           •    Faculty Expertise and Dedication. Learn from professors dedicated to
                fostering your personal growth and professional development. This unwavering
                commitment has guided the personal and professional success of each student
                for almost a century.

           •    A Foundational Education. A proven, purposeful education, which, through
                professionally focused courses of study, equips students with the critical skills,
                knowledge, and experience essential for a meaningful careers and productive
                life.

           •    Interdisciplinary Curriculum. A curriculum that encourages interdisciplinary
                exploration, educating students who will succeed in a global society, ensuring
                you are well-prepared to understand and navigate the world at large.

           •    Limitless Academic and Co-Curricular Opportunities. A wide range of
                learning opportunities within our colleges and schools, outside of a classroom
                and in the community, enable you to pursue your passion – or discover a new
                one.

           •    Vibrant Campus Community. An engaged, vibrant campus community - that
                is the right size – small enough to feel personal and manageable, yet large
                enough to offer students a wide array of academic, residential, athletic, and
                leadership opportunities.

71.        On Defendant’s “Student Life” webpage and corresponding subpages, the University also



19
     https://www.newhaven.edu/student-life/
20
     https://www.newhaven.edu/about/

                                                     14
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makes the following promises, among numerous others:21

        •    Get Involved. We offer more than 150 student clubs and organizations for you to
             participate in. Can’t fine what you’re looking for? Start one.22

                 o Limitless Opportunities to Learn, Lead, and Grow. Whether you are
                   interested in cultural, intellectual, or social programs, you’ll have a wealth of
                   opportunities to immerse yourself in the life of the University, interact with
                   your classmates, and create memories that you will treasure for your entire
                   life.23

                 o Super-Charge Your College Experience. The University’s Center for
                   Student Engagement, Leadership, and Orientation (CSELO) fosters a sense of
                   pride on campus through programs, resources, and opportunities for
                   involvement that advance student learning and prepare students for success in
                   the global community.24

                 o Army ROTC. Army ROTC instruction provides leadership training that
                   allows students to excel in any career field in the military, government, or
                   civil sector.25

                 o Community Service. Serving the community is both educational and
                   personally rewarding. You’ll have many opportunities to get involved and to
                   give back to the Greater West Haven and New Haven communities.26

                 o Competency Learning Experience. Take part in a range of activities that are
                   designed to equip students with the critical skills that employers are looking
                   for.27

                 o Greek Life. Through involvement in a sorority or fraternity, you will have the
                   opportunity not only to enhance your personal development but also to live in
                   a closely knit community whose members share values and forge lasting
                   friendships.28

                 o Leadership Development. Be the person with the vision and the skills to
                   inspire others to work toward it. Our program encourages you to identify
                   values, serve as a responsible citizen, and lead others.29


21
   Id.
22
   Id.
23
   https://www.newhaven.edu/student-life/get-involved/index.php
24
   Id.
25
   Id.
26
   Id.
27
   Id.
28
   Id.
29
   Id.

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                 o Marching Band. The Chargers Marching Band and the University’s student
                   ensembles are a source of spirit and pride for the University of New Haven
                   and the local community.30

                 o Recognized Student Organizations. The University has over 150
                   Recognized Student Organizations, overseen by two student-run governing
                   bodies: the Undergraduate Student Government Association (USGA), and the
                   Graduate Student Council (GSC).31

                 o WNHU. The University’s award-winning radio station is run by students for
                   students.32

        •    Campus Safety. The University of New Haven is the only private college or
             university in the state whose campus police department has earned Tier I
             accreditation from the State of Connecticut Police Officer Standards and Training
             Council.33

                 o University Police. The University of New Haven Police Department provides
                   full-service police protection to the West Haven campus 24 hours a day, seven
                   days a week.34

                 o Fire Safety and Office of Fire Marshal. The Director of Safety and
                   Training, in partnership with the campus community, sponsors programs,
                   policies and procedures that promote an understanding of safety as it relates to
                   the well-being of the community, both on and off campus.35

                 o Environmental Health and Safety. The Department of Public Safety
                   employs a comprehensive Environmental Health and Safety program that is
                   responsible for maintaining and enforcing consistent standards of program
                   quality and safety throughout all University of New Haven campuses.36

                 o Shuttles and Transportation. The University of New Haven offers a variety
                   of safe and reliable transportation options that allow students to explore the
                   Greater New Haven and West Haven areas.37

        •    Diversity & Inclusion. The University of New Haven fosters a climate in which the
             diversity of all of its members is valued, appreciated, and embraced. Living and
             learning in a multicultural campus community prepares you to be a leader in the


30
   Id.
31
   Id.
32
   Id.
33
   https://www.newhaven.edu/student-life/
34
   https://www.newhaven.edu/student-life/public-safety/index.php
35
   Id.
36
   Id.
37
   Id.

                                                       16
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             global economy.38

                 o Be Part of a Welcoming and Accepting Community. The University of
                   New Haven is committed to fostering a climate based on mutual respect and
                   inclusion, one in which people from diverse backgrounds feel valued,
                   accepted, and appreciated.39

                 o Accessibility Resources Center. The Accessibility Resources Center
                   provides comprehensive services and support that serve to promote
                   educational equity and ensure that students are able to participate in all the
                   opportunities available at the University.40

                 o International Services Office. The International Services Office advocates
                   for, and advises, the international student population at the University on U.S.
                   immigration and visa-related issues. The office also supports and facilitates
                   the transition of international students to the University community.41

                 o Myatt Center for Diversity and Inclusion. The Myatt Center plans
                   programs and activities that promote cultural diversity, awareness, and
                   sensitivity throughout the campus community.42

        •    Health & Wellness. It’s much easier to excel in your studies when you are feeling
             your best – physically, emotionally, and spiritually.43

                 o Develop a Healthy Mind, Body, and Spirit. Ensuring the health and
                   wellbeing of all students is of paramount importance at the University of New
                   Haven. We offer a wide variety of programs, services, and resources to enrich
                   and enhance your social, physical, nutritional, financial, mental, spiritual, and
                   intellectual wellness.44

                 o ChargerRec. Participate in intramurals, get personal training, or work out in
                   our state-of-the art David A. Beckerman Recreation Center, a $15. 5 million
                   facility that features a 6,000-square- foot weight room and fitness center,
                   exercise studios, jogging track, hardwood activity courts, and locker rooms.45

                 o Spiritual Life and Campus Ministry. The Office of Spiritual Life & Campus
                   Ministry provides students, faculty and staff with opportunities for the
                   development and expression of religious ideas and values.46

38
   https://www.newhaven.edu/student-life/
39
   https://www.newhaven.edu/student-life/diversity-inclusion/index.php
40
   Id.
41
   Id.
42
   Id.
43
   https://www.newhaven.edu/student-life/
44
   https://www.newhaven.edu/student-life/health-wellness/index.php
45
   Id.
46
   Id.

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                 o Health Services. The primary on-campus provider of care in cases of illness
                   or injury, the Office of Health Services also provides a variety of educational
                   health programs.47

                 o Counseling and Psychological Services. The Counseling Center offers a
                   variety of services to enrich your mental health and ensure that you make the
                   most of your experience as a student.48

                 o Financial Literacy Tool. We offer resources that will help you develop
                   effective strategies to enhance your financial literacy.49

        •    Living on Campus. The residence halls are home to your college family and give
             you easy access to classes, resources, and campus activities.50

                 o Welcome Home to Your Charger Community. The residence halls at the
                   University of New Haven are home to your college family and are the living
                   arrangement that offers the most convenience. Simply put: Living in our
                   residence halls is your best option because you are located near everything
                   that is important to you.51

                 o Your Home Away From Home. Living in one of our residence halls enables
                   you to participate in a well-rounded educational experience that caters to your
                   personal and professional development.52

                 o When you live in a University of New Haven residence hall, you live and
                   learn near the people and places that are integral to your college experience,
                   and you’ll be part of a supportive, engaged community. Through our unique
                   Living-Learning Communities, you can even live with people who have the
                   same major as you.53

                 o Better Grades and Higher Level of Engagement. Research shows that those
                   who live in our residence halls earn better grades and are more likely to
                   pursue an advanced degree. On-campus students also develop deeper
                   connections with faculty and their fellow students, experience a higher level
                   of engagement, and, ultimately, have a more successful and satisfying college
                   career.54

                 o Convenience and Access to Resources. Right outside of your residence hall,

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   Id.
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   Id.
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   Id.
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   https://www.newhaven.edu/student-life/
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   https://www.newhaven.edu/student-life/living-on-campus/index.php
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   Id.
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   Id.
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   Id.

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                     you have easy access to your professors and a wealth of campus resources,
                     including the Peterson Library and the Beckerman Recreation Center, which
                     is open nearly 18 hours a day.55

                 o It's easier to get involved. By living on campus, you are more plugged in,
                   and there is always something to do. The Office of Residential Life and the
                   Center for Student Engagement, Leadership, and Orientation annually
                   organize thousands of social, cultural, and academic programs as well as a
                   wide variety of leadership opportunities for students.56

                 o A vibrant campus community. Students who live on campus have the
                   opportunity to immerse themselves in a culturally diverse and lively campus
                   life. These experiences in diversity will benefit you in any endeavor you
                   pursue in the future.57

                 o You'll make friends for life. Some of your most transformational
                   experiences will take place outside of the classroom. You’ll forge lifelong
                   relationships and build people skills that will serve you well throughout your
                   career and in your personal life.58

                 o Explore Our Residence Halls. Living on campus is a once-in-a-lifetime
                   experience. As an on-campus student, you have total access to all that the
                   University has to offer. Don’t miss out!59

        •    Dining Options. We offer a wide variety of nutritious and balanced meal options to
             meet your specific tastes, lifestyles, and dietary needs.60

                 o Mouth-Watering Food Options for all Palates. At the University of New
                   Haven, you have almost instant access to good food and a diversity of cuisine
                   from which to choose. You can even stop by our student-run café for a cup of
                   coffee of gather your friends to go to our fine-dining campus restaurant.61

                 o We Have An Option for You. Whatever you are in the mood for, we have
                   you covered. Our newly designed Marketplace features a wide variety of
                   stations – from Beach Grill and All-Day Breakfast to Holy Habanero and
                   Hearty American – that cater to all tastes.62

                 o Our meals range from old-fashioned comfort foods to those with international
                   flair. Our Simply Serving station caters to those seeking gluten-free, allergy-

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   Id.
56
   Id.
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   Id.
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   Id.
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   Id.
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   https://www.newhaven.edu/student-life/
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   https://www.newhaven.edu/student-life/dining-options/index.php
62
   Id.

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                     free, vegan, or vegetarian foods.63

                o You’ll also find minimally processed, non-GMO, antibiotic- and hormone-
                  free options on the menu.64

                o Good Eats. Enjoy gourmet-quality cuisine at Food on Demand, a technology-
                  driven restaurant experience – you’ll order digitally using a touch-screen
                  kiosk – where the possibilities are as wide as your imagination.65

                o In addition to your individually prepared meal, you’ll enjoy unlimited salad,
                  dessert, and beverages, all in a great space in Westside Hall – our newest
                  residence hall – to connect with your friends and the community.66

                o Looking for a mid-day snack or a late-night bite to eat? Stop by one of our
                  eight retail locations that feature everything from sushi to freshly baked
                  pastries to mega smoothies. If you are a commuter, you don’t have to miss out
                  on all the great food.67

        •    Commuter Resources. We strongly encourage our commuter students to take
             advantage of the many opportunities available to students who choose to live off
             campus.68

                o Your Home Away From Home. You don’t have to live on campus to
                  immerse yourself in the complete University of New Haven experience.
                  Commuter students are highly encouraged to take advantage of the many
                  opportunities to get connected to the campus.69

                o Make the Most of Your Time as a Charger. Even if you don’t live in one of
                  our residence halls, there is so much for you to do outside of the classroom
                  and in the surrounding communities that the University of New Haven will
                  quickly become your second home. The Undergraduate Student Government
                  Association and Graduate Student Council are available to advocate for you
                  and to enrich your experience as a student. There is something for everyone.
                  Take advantage of these co-curricular learning opportunities, and make sure
                  you get the most out of your educational experience.70

        •    Graduate Student Services. The University helps graduate students meet the
             challenges of balancing work, family, and academics.71

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   Id.
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   Id.
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   Id.
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   Id.
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   Id.
68
   https://www.newhaven.edu/student-life/
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   https://www.newhaven.edu/student-life/commuter-resources/index.php
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   Id.
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   https://www.newhaven.edu/student-life/

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                 o Live, Learn, Explore. At the University of New Haven, we understand the
                   unique responsibilities you have as a graduate student. Whether you are
                   working full-time and pursuing your degree in the evenings, or you are a full-
                   time student living in Connecticut for the first time, the Office of Graduate
                   Student Services will help you make the most of your time as a graduate
                   student.72

                 o From the luxury apartments at The Atwood and the surrounding college-town
                   atmosphere, to the access you’ll have to the rich culture of New England and
                   New York City, to the on-campus programs that enable you to present your
                   research to the campus community, you will find a wealth of opportunities to
                   take part in a well-rounded graduate school experience.73

                 o You can also take a leadership position with the Graduate Student Council or
                   participate in the many social events in the Greater New Haven area that are
                   designed to help you create lifelong connections with your classmates.74

                 o The supportive community and the many resources you’ll have access to will
                   help ensure you are well prepared for personal and professional success.75

        •    Career Development Center. The University’s Career Development Center – which
             has been ranked among the best in the country by The Princeton Review – offers
             support from your first day on campus.76

                 o Career Development. From help choosing the right major – or switching to a
                   better fit – to internships and co-ops, résumé building, interview training, and
                   job listings in your field, our goal is to connect you with the services and
                   resources you need to map out the career you envision.77

                 o At the University of New Haven, we re-imagined how career development
                   should work and created an approach that is integrative instead of merely
                   transactional. That means future career success is built right into your entire
                   academic experience.78

                 o It also means that everyone in the University is involved in Career
                   Development, not just a few dedicated staff members. It really does take a
                   village, in our opinion, to sow the seeds of a successful career — from faculty
                   members who design career-focused curricula, to Resident Assistants who are

72
   https://www.newhaven.edu/student-life/graduate-student-services/index.php
73
   Id.
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   Id.
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   Id.
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   https://www.newhaven.edu/student-life/
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   https://www.newhaven.edu/student-life/career-development-center/index.php
78
   Id.

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                     intensely engaged in setting up career workshops and seminars, to the many
                     campus events where career development is always a presence, to mini career
                     fairs that are discipline-focused instead of come-one-come-all events. And
                     that’s only a small sample of what you can expect.79

                 o For undergraduates, graduate students, alumni, and employers, Career
                   Development is more than an office at the University of New Haven. It’s a
                   philosophy — and it’s our culture.80

        •    Military & Veteran Student Services. Through the Military & Veteran Services
             Team, you will have the support you need to achieve your goals in this next phase of
             your life.81

                 o Your Success Continues Here. Through the Military & Veteran Services
                   Team, you will have the support you need to achieve your goals in this next
                   phase of your life. Our programs at the University of New Haven will help
                   you excel in the classroom, connect with other service members, and allow
                   you access to all the services and resources available to ensure your success.
                   Our dedicated staff members who work specifically with our military/student
                   veterans and their dependents are there so that you will always know to whom
                   and where to turn when you need help.82

                 o Our Community. Joining the community at the University of New Haven
                   means having access to all of the tools necessary to succeed, the support
                   needed to get your goals accomplished, and the support needed along the way
                   to ensure it all gets done. Whether in the classroom or in the field, our team of
                   dedicated staff/students is here to ensure your success.83

                 o Academics. At the University of New Haven, we provide the solid foundation
                   of knowledge and skills you need to succeed at any career path you choose.
                   Check out our Undergraduate and Graduate programs, and find your major.84

                 o Join Our Family. The University of New Haven is home to over 300
                   military/student veterans and dependents, as well as nearly 100 ROTC cadets.
                   So, no matter what your program or schedule, you’re sure to run into a fellow
                   Soldier, Sailor, Airman, or Marine.85

        •    Orientation. The University’s comprehensive orientation program eases the
             transition to college life, and welcomes new students and their families into the

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   Id.
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   Id.
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   https://www.newhaven.edu/student-life/
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   https://www.newhaven.edu/veterans/
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   Id.
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   Id.
85
   Id.

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                University community.86

           •    Campus Store. The University’s Campus Store is the one-stop place to get
                textbooks, supplies, University apparel, and more!87

72.        Students seeking more information about the University can connect to Defendant

through its numerous official social media accounts.

73.        Based upon these advertisements and other promises and inducements made by

Defendant, those prospective students who were interested in enrolling at the University after

consuming the marketing materials described above were invited to complete applications, and

some were selected for and offered admission.

74.        When a student is offered admission to the University, that student receives a number of

further communications and has a number of additional interactions with Defendant.

75.        Initially, the student will receive an official offer letter. For example, at least one version

of Defendant’s acceptance letter read, “You’ll see that there are many reasons why we think

UNH is the right place for you! Please make sure that you take some time to visit our campus if

you haven’t done so already. Even if you have, we invite you to come and visit again. A personal

visit through our Charger Day program is a great way to learn more about what UNH has to

offer,” before concluding with, “I look forward to welcoming you to campus!”

76.        According to Defendant’s publications, paying an enrollment deposit is the first step to

officially joining the University community.

77.        As mentioned above, “accepted students,” and their families, are invited to attend

“Charger Day” (which is hosted on Defendant’s campus) where Defendant again attempts to

convince such students to accept their offers of admission by highlighting the University’s



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     https://www.newhaven.edu/student-life/
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     Id.

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location and the many benefits of being on campus.

78.        During this time, prospective students are again given a tour of campus, sit in on an

actual college course, and have the opportunity to hear from faculty and current students about

all the benefits University of New Haven’s location has to offer:88




79.        When students officially accept their offers, they are flooded with a number of other

communications from the school each again referencing the University of New Haven

“community” and extolling the virtues of the on-campus experience.

80.        Before the start of their first semester, students are required to attend a mandatory new

student orientation program on-campus, called SOAR, where new students are able to meet their

classmates, learn more about academic and student life and the University.

81.        Once students make it through orientation [and for returning students], it comes time to

register for classes. This is another area where Defendant specifically emphasizes the distinction

between its in-person and online class offerings through the academic catalogs and course listings

on the website.



88
     https://www.newhaven.edu/admissions/undergraduate/visit/charger-days/index.php

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82.     As previously mentioned, Defendant uses a separate website for its online programs.89

83.     Each of Defendant’s tuition and fees are listed separately on the University’s Bursar

website with specific tuition and fees charged depending on student status (Full-Time Day, Part-

Time Day, Part-Time Evening, Residential, etc.).90

84.     Defendant’s online variant, however, charges tuition and fees depending on the chosen

online program.91

85.     When students log into their myCharger accounts during the registration period to select

their in-person classes, each class is listed not only by description, but also by meeting time,

professor, and physical classroom location.

86.     Upon registration, students in many of Defendant’s on-campus schools and programs

were subject to strict personal attendance requirements as set forth in various departmental

policies and handbooks, evidencing Defendant’s requirement and the student’s acceptance of the

requirement that such students physically attend such classes on campus.

87.     That Defendant offered to provide, and members of the Tuition Class expected to receive,

instruction on the physical campus is further evidenced by the parties’ prior course of conduct.

88.     Each day for the weeks and months leading up to March 14, 2020, students attended

physical classrooms to receive in-person instruction, and Defendant provided such in-person

instruction.

89.     Likewise, upon information and belief, most students were provided with syllabi and

other documents that referenced class meeting schedules, locations, and physical attendance

requirements.


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   See https://online.newhaven.edu.
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   https://www.newhaven.edu/about/departments/bursars/tuition/undergraduate-2020-2021.php ; See also
http://catalog.newhaven.edu/content.php?catoid=20&navoid=1196 for 2019 tuition rates.


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90.    Each day for the weeks and months prior to announced closures, students had access to

the full campus.

91.    Accordingly, it is clear that Defendant offered to provide live, in-person education,

together with a full on-campus experience and that members of the Tuition Class accepted that

offer by paying tuition and attending classes during the beginning of the Spring 2020 semester.

92.    It is also clear that Defendant recognized and treated online enrollment vs. on-campus

enrollment as two separate and distinct products.

93.    In addition to maintaining separate websites and charging separate tuition prices,

Defendant published a separate academic calendar and course schedule for online courses.

94.    Unlike registration for on-campus courses which list the days, start/end times, instructors,

and location, registration for online courses only state instructors and credits, with its location

listed as “ONLINE.”

95.    Based on mutual assent, plaintiff and other members of the Tuition Class fulfilled their

end of the bargain when they paid tuition for the Spring 2020 semester, either by paying out of

pocket or by using student loan financing, or otherwise.

96.    However, the University breached the contract with Plaintiff and other members of the

Tuition Class by moving all classes for the Spring 2020 semester to online distance learning

platforms, and eliminating the on-campus experience without reducing or refunding tuition

accordingly.

97.    This cause of action does not seek to allege “educational malpractice.”

98.    Rather, it is clear from the facts and circumstances that Defendant offered two separate

and distinct products, one being live, in-person, on-campus education, with its featured ancillary

and related services, and the other being online distance education.



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99.       Plaintiff and members of the Tuition Class accepted Defendant’s offer for live in-person,

on-campus education and paid valuable consideration in exchange.

100.      However, after accepting such consideration from Plaintiff and other members of the

Tuition Class, Defendant provided a materially different product, which deprived Plaintiff and

other members of the Tuition Class of the benefit of the bargain for which they had already paid.

101.      Defendant retained tuition monies paid by Plaintiff and other members of the Tuition

Class, without providing them the full benefit of their bargain.

102.      Plaintiff and other members of the Tuition Class have suffered damage as a direct and

proximate result of Defendant’s breach amounting to the difference in the fair market value of

the services and access for which they contracted, and the services and access which they

actually received.

103.      As a direct and proximate result of Defendant’s breach, Plaintiff and other members of

the Tuition Class are legally and equitably entitled to damages, to be decided by the trier of fact

in this action, to include disgorgement of the difference between the fair market value of the

online learning provided versus the fair market value of the live, in-person instruction in a

physical classroom on a physical campus with all the attendant benefits for which they

contracted.

                     FOR A SECOND COLLECTIVE CAUSE OF ACTION
                               UNJUST ENRICHMENT

                        (Plaintiff and Other Members of the Tuition Class)

104.      Plaintiff incorporates by reference all preceding allegations as though fully set forth

herein.

105.      Plaintiff brings this count on behalf of himself and other members of the Tuition Class.

106.      This claim is pled in the alternative to, and to the extent it is determined a contract does

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not exist or otherwise apply, the contract-based claim set forth in the First Cause of Action

above.

107.     Plaintiff and other members of the Tuition Class paid substantial tuition for live, in-

person instruction in physical classrooms on a physical campus.

108.     Plaintiff and other members of the Tuition Class conferred a benefit on Defendant when

they paid this tuition.

109.     Defendant has realized this benefit by accepting such payment.

110.     However, Plaintiff and members of the Tuition Class did not receive the full benefit of

their bargain.

111.     Instead, Plaintiff and other members of the Tuition Class conferred this benefit on

Defendant in expectation of receiving one product, i.e., live in-person instruction in a physical

classroom along with the on-campus experience of campus life as described more fully above,

but they were provided with a materially different product carrying a different fair market value,

i.e., online instruction devoid of the on-campus experience, access, and services.

112.     Defendant has retained this benefit, even though Defendant has failed to provide the

services for which the tuition was collected, making Defendant’s retention unjust under the

circumstances.

113.     As a result of closing campus and moving classes online, Defendant saved significant

sums of money in the way of reduced utility costs, reduced maintenance and staffing

requirements, reduced or eliminated hours for hourly employees, reduced or eliminated hours for

paid work study students, and otherwise.

114.     Simply put, it is significantly cheaper to operate a remote, on-line campus than a fully

open physical campus. But even if it was not, it is not the product that students were offered and



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not the product the students expected to receive.

115.      Equity and good conscience require that the University return a portion of the monies

paid in tuition to Plaintiff and other members of the Tuition Class.

116.      This is particularly true where, as here, Defendant’s campus is supported by millions of

dollars in endowment funds, while its students, upon information and belief, do not have access

to such immense financial resources, and further where, upon information and belief, a

substantial portion of its students have incurred substantial debt to finance an educational

experience that they did not receive.

117.      At the same time, Defendant received significant aid from the federal government, of

which, Defendant has retained $2.3 million for itself as opposed to passing that along to students.

118.      Defendant should be required to disgorge this unjust enrichment to the extent that

Defendant has retained more than the fair market value for the product that Defendant was able

to provide.

                      FOR A THIRD COLLECTIVE CAUSE OF ACTION
                                BREACH OF CONTRACT

                          (Plaintiff and Other Members of the Fees Class)

119.      Plaintiff incorporates by reference all preceding allegations as though fully set forth

herein.

120.      Plaintiff brings this count on behalf of himself and other members of the Fees Class.

121.      In addition to tuition, Defendant charges a number of mandatory fees.

122.      In its publications and, particularly on its website, Defendant specifically describes the

nature and purpose of each fee.

123.      Some fees apply broadly to all or certain groups of students, while other fees are program

or course based.

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124.    Such fees are set forth not only in amount but also in description and purpose on the

website.

125.    Plaintiff and the Fees Class entered into contracts with the University which provided

that Plaintiff and other members of the Fees Class would pay certain fees for or on behalf of

students and, in exchange, the University would provide services related to those fees, such as

access to student activities, athletics, wellness centers, libraries, etc.

126.    Plaintiff and other members of the Fees Class fulfilled their end of the bargain when they

paid these fees for the Spring 2020 semester either out-of-pocket or by using student loan

financing, or otherwise.

127.    The University breached the contract with Plaintiff and the other members of the Fees

Class by moving all classes for the Spring 2020 semester to online distance learning platforms,

constructively evicting students from campus, and closing most campus buildings and facilities.

128.    The University retained fees paid by Plaintiff and other members of the Fees Class,

without providing them the full benefit of their bargain.

129.    Plaintiff and other members of the Fees Class have suffered damage as a direct and

proximate result of Defendant's breach, including but not limited to being deprived of the value

of the benefits and services the fees were intended to cover.

130.    As a direct and proximate result of Defendant's breach, Plaintiff and the Fees Class are

legally and equitably entitled to damages, to be decided by the trier of fact in this action, to

include but not be limited to disgorgement of the pro-rata amount of fees that was collected but

for which services were not provided.

                    FOR A FOURTH COLLECTIVE CAUSE OF ACTION
                              UNJUST ENRICHMENT

                         (Plaintiff and Other Members of the Fees Class)

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131.      Plaintiff incorporates by reference all preceding allegations as though fully set forth

herein.

132.      Plaintiff brings this count on behalf of himself and other members of the Fees Class.

133.      This claim is pled in the alternative to, and to the extent it is determined a contract does

not exist or otherwise apply, the contract-based claim set forth in the Third Cause of Action

above.

134.      Defendant has received a benefit at the expense of Plaintiff and other members of the

Fees Class to which it is not entitled.

135.      Plaintiff and other members of the Fees Class paid substantial student fees for on campus

benefits and services and did not receive the full benefit of the bargain.

136.      Plaintiff and other members of the Fees Class conferred this benefit on Defendant when

they paid the fees.

137.      Defendant has realized this benefit by accepting such payment.

138.      Defendant has retained this benefit, even though Defendant has failed to provide the

services for which the fees were collected, making Defendant's retention unjust under the

circumstances.

139.      As a result of closing campus and moving classes online, Defendant saved significant

sums of money in the way of reduced utility costs, reduced maintenance and staffing

requirements, reduced or eliminated hours for hourly employees, reduced or eliminated hours for

paid work study students, and otherwise.

140.      Simply put, it is significantly less expensive to operate a remote, on-line campus than a

fully open physical campus.

141.      Equity and good conscience require that the University return a pro-rata portion of the

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monies paid in fees to Plaintiff and other members of the Fees Class.

142.   This is particularly true where, as here, Defendant’s campus is supported by millions of

dollars in endowment funds, while its students, upon information and belief, do not have access

to such immense financial resources, and further where, upon information and belief, a

substantial portion of its students have incurred substantial debt to finance an educational

experience that they did not receive.

143.   At the same time, Defendant received significant aid from the federal government, of

which, Defendant has retained $2.3 million for itself as opposed to passing that along to students.

144.   Defendant should be required to disgorge this unjust enrichment to the extent that

Defendant has retained more than the fair market value for the product that Defendant was able

to provide.

                                    PRAYER FOR RELIEF

   WHEREFORE, Plaintiff, individually and on behalf of members of the Class(es), pray for

judgment in their favor and against Defendant as follows:

       a.      Certifying the Classes as proposed herein, designating Plaintiff as Class

       representative, and appointing undersigned counsel as Class Counsel;

       b.      Declaring that Defendant is financially responsible for notifying the Class

       members of the pendency of this action;

       c.      Declaring that Defendant has wrongfully kept monies paid for tuition and fees;

       d.      Requiring that Defendant disgorge amounts wrongfully obtained for tuition and

       fees;

       e.      Awarding injunctive relief as permitted by law or equity, including enjoining

       Defendant from retaining the pro-rated, unused monies paid for tuition and fees;



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        f.        Scheduling a trial by jury in this action;

        g.        Awarding Plaintiff’s reasonable attorney’s fees, costs and expenses, as permitted

        by law;

        h.        Awarding pre and post judgment interest on any amounts awarded, as permitted

        by law; and

        i.        Awarding such other and further relief as may be just and proper.

                                    DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands trial by

jury in this action of all issues so triable.

        This 22nd day of October, 2020


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                                                 -and-

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                            ATTORNEYS FOR PLAINTIFF

                            **Pro Hac Vice Admission Forthcoming




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